Case 1:14-ml-02570-RLY-TAB Document 1339-2 Filed 04/14/16 Page 1 of 3 PageID #: 5100




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

   _________________________________________

   In Re: COOK MEDICAL, INC., IVC FILTERS
   MARKETING, SALES PRACTICES AND                                Case No. 1:14-ml-2570-RLY-TAB
   PRODUCTS LIABILITY LITIGATION                                 MDL No. 2570
   _________________________________________

   This Document Relates to All Actions
   _________________________________________

                                CASE MANAGEMENT ORDER # 13
                              (MEDICAL RECORDS DESIGNATION)

          This Order shall govern (1) all cases transferred to this court by the Judicial Panel on

   Multidistrict Litigation, including those cases identified in the original Transfer Order and those

   subsequently transferred as tag-along actions; and (2) all cases directly filed in or removed to this

   MDL. It is ORDERED as follows:

          In conjunction with submitting a completed Plaintiff Profile Form and Plaintiff Fact

   Sheet, each plaintiff must submit the medical record(s) that document the conditions listed

   below, if the plaintiff claims the condition and attributes it to a Cook IVC Filter. The plaintiff

   shall highlight, bookmark, or flag the record(s) that document the condition.

                 IVC perforation and description of any associated injury;

                 IVC and organ perforation and description of any associated injury;

                 fracture and description of any associated injury;

                 migration and description of any associated injury;

                 tilt and/or embedment and description of any associated injury;

                 death and cause of death;

                 post-implant need for life-time anti-coagulation and cause;
Case 1:14-ml-02570-RLY-TAB Document 1339-2 Filed 04/14/16 Page 2 of 3 PageID #: 5101




                 post-implant IVC thrombosis, pulmonary embolism, deep vein thrombosis, or

                  post thrombotic syndrome and cause;

                 post- implant pain or other symptoms and cause;

                 surgical reports from all attempted filter removals;

                 records indicating whether any removal attempt was routine or complicated;

                 records indicating whether all or part of a filter is not retrieved after a retrieval

                  procedure or "unretrievable"; and

                 if not previously produced pursuant to paragraph 1(d) of Case Management Order

                  #4, all images of the filter ((i.e., x-rays, venograms, fluoro, CT, MRIs, and/or

                  photos). All imaging produced in a non-electronic form will be returned to the

                  producing party within 30 days, unless the producing party indicates that return is

                  not necessary.

          In any case in which the PFS and PPF have previously been submitted or are past-due,

   the submission of designated medical records is due June 1, 2016, and shall be sent by electronic

   or hard copy to:

                                   Sandy Davis Jansen
                                   WOODEN MCLAUGHLIN LLP
                                   One Indiana Square, Suite 1800
                                   Indianapolis, IN 46204-4208
                                   Sandy.Jansen@WoodenMcLaughlin.com

   Defendants suggest the use of the format attached as Exhibit “A” for the submission of the above

   information.   Plaintiffs may use that format or any other format for the submission of

   information, so long as the above-referenced information is contained therein.




                                                     2
Case 1:14-ml-02570-RLY-TAB Document 1339-2 Filed 04/14/16 Page 3 of 3 PageID #: 5102




              All parties stipulate that any plaintiff’s designation of medical records, in any form, as

   well as any information, in any form, provided pursuant to this Order (including but not limited

   to Exhibit A) will not be offered into evidence and will not be admissible as evidence in any trial

   and will not be used as a basis, in whole or in part, for any dispositive motion or other motion in

   this case, and will not be used in any form in any deposition taken in this case. Medical records

   provided pursuant to this Order that are otherwise admissible shall continue to be admissible

   subject to the limitations stated above.

              This order does not alter each plaintiff’s obligation to provide all medical records in their

   possession or control, as set out in paragraph 1(d) of Case Management Order #4.


   SO ORDERED:

                                                            _________________________________
                                                            Tim A. Baker
                                                            United States Magistrate Judge
                                                            Southern District of Indiana




                                                        3
   1449415-1 (10909-0412)
